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MARCEREAU & NAZIF

Robert H. Marcereau (SBN 211534)
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Attorneys for Movants Kelli Peters, et. al.

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA —- SANTA ANA DIVISION

In re: Case No. 8:16-bk-10223-ES

Kent W. Easter, dba Kent Easter Consulting,
dba Law Offices of Kent W. Easter

SUMMARY JUDGMENT

TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

Determine Dischargeability of Debt came on for hearing.

Peters and Defendant Kent W. Easter appeared in propria persona.

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Desc

NOTICE OF CONTINUANCE OF STATUS
CONFERENCE DATE AND HEARING ON

PLEASE TAKE NOTICE that on July 21, 2016, at 9:30 am., in the United States
Bankrupicy Court, Central District of California (Santa Ana Division), Department 5A, located at
411 West Fourth Street, Santa Ana, California, the Status Conference regarding Complaint of

Amber D. Esposito, Esq. appeared on behalf of Plaintiffs Kelli Peters, Bill Peters and Sydnie

NOTICE OF CONTINUANCE OF STATUS CONFERENCE DATE AND
HEARING ON SUMMARY JUDGMENT

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The Court’s tentative ruling became its final ruling as set forth in the Scheduling Order
attached hereto as Exhibit “A”.

Please take further notice that the Status Conference and Hearing on Summary Judgment
have been continued by the Court from November 8, 2016 to November 10, 2016 at 2:00 p.m. in

Department 5A of this Court.

Dated: August 15, 2016 MARCEREAU & NAZIF

i
Robett H. Marcereau /
Attorneys for Movants Kelli Peters, et. al,

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NOTICE OF CONTINUANCE OF STATUS CONFERENCE DATE AND
HEARING ON SUMMARY JUDGMENT

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EXHIBIT “A”
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Attorney or Party Name, Address, Telephone & FAX
Nos., State Bar No. & Email Address

Robert Marcereau (SBN: 211534)
MARCEREAU & NAZIF

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E-mail: rmarcereau@mncalaw.com

L] Debtor(s) appearing without attorney
X Attorney for. Movant, Kelli Peters

FOR COURT USE ONLY

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA -—Santa Ana DIVISION

In re:

Kent Wycliffe Easter, dba Kent Easter Consulting, dba
Law Offices of Kent W. Easter

Debtor(s)
Kelli Peters, Bill Peters and Sydnie Peters
Plaintiff(s)
vs.
Kent W. Easter
Defendant(s)

CASE NO.: 8:16-bk-10223-ES
CHAPTER: 7
ADVERSARY NO: 8:16-01114

STATUS CONFERENCE AND SCHEDULING
ORDER PURSUANT TO LBR 7016-1(a)(4)

DATE: July 271, 2016

TIME: 9:30 a.m.

COURTROOM: 5A

ADDRESS: 411 W. Fourth Street
Santa Ana, CA 92701

1. Astatus conference tock place on the date and time indicated above.

2. Parties and counsel were present as reflected in the court record.

3. This matter is disposed of as follows:

a. X Continued to the following date for a further status conference:

(date) 11/10/2016 (time) 2:00 p.m.

b. [J A joint status report must be filed and served, including a judge's copy, by (date):

Cc. f The last day to join other parties and to amend pleadings is (spegify date):

This form is optional. Ithas been approved for use by the United States Bankruptcy Court for the Central District of Califomia,

December 2074

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F 7016-1.2.ORDER.STATUS.CONF
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The tast day for pre-trial motions to be filed and served, including a judge’s copy, is (date):

The last date for pre-trial motions to be heard ts (date):

The last day for discovery to be completed, including receiving responses to discovery requests, is
(date):

A [_] pre-trial stipulation or (7) pre-trial order must be filed and lodged by (date) (time)

[] No pre-trial stipulation or pre-trial order is required

L] No pre-trial conference is required
Estimate of time for trial (specify number of hours):

A trial is set for (date) (time)

Oo

The adversary proceeding is dismissed for failure to appear or prosecute

LJ
CO
C
L]
h. [] Apre-trial conference is set for (date) (time)
Cc)
C
CJ
[_] with prejudice [_] without prejudice
L O

m. X Other (specify): The Deadline to file Summary Judgment Motion is 10/4/2016. The Hearing on
Summary Judgment is 11/10/2016 at 2:00 p.m. An updated joint status report is not required,

Notice of next status conference or pre-trial conference date is waived

This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2014 Page 2 F 7016-1.2.ORDER.STATUS.CONF
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PROOF OF SERVICE OF DOCUMENT
| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610
A true and correct copy of the foregoing document entitled (specify): NOTICE OF CONTINUANCE OF STATUS

CONFERENCE DATE AND HEARING ON SUMMARY JUDGMENT will be served or was served (a) on the judge
in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC EILING (NEF): Pursuant to conirolling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
8/15/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

ecf.alerttKosmala@titlexi.com; notices@becket-lee.com; claims@recoverycorp.com; ustpregion16.sa.ecf@usdoj.gov

L] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 8/15/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor: Kent Wycliffe Easter, 153 Baywood Dr., Newport Beach, CA 92660

Trustee: Weneta M Kosmala, 3 MacArthur Place, Suite 760, Santa Ana, CA 92707

Judge: Honorable Erithe A. Smith, United States Bankruptcy Court, Central District of California, Ronald Reagan Federal
Building and Courthouse, 411 West Fourth Street, Suite 5040 / Courtroom 5A, Santa Ana, CA 92701-4593

[.] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date , | Served the
folowing persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after
filed.

C1 Service information continded on attached pagl

declare under penalty of perjury under the laws of the United States that the foregoing is tru
8/15/2016 Nicole Lipowski Isi Nico {}) / / 4 f

Date Printed Name Signature (7 | [YA “TH

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
